           Case 3:06-cv-02123-G United States
                                Document      District
                                         21 Filed      Court Page 1 of 1 PageID 79
                                                   05/30/07
                                              Northern District of Texas
                                                 Office of the Clerk
                                                                                                   Dallas Division
                                                                                                   1100 Commerce Room 1452
                                                                                                   Dallas, TX 75242-1003
                                                            May 30, 2007

      Mr. Charles R. Fulbruge III, Clerk
      U.S. Court of Appeals - Fifth Circuit
      600 S. Maestri Place
      New Orleans, LA 70130

      SUBJECT: 07-10563           3:06cv2123-G       Arthur W. Carson v. Quarterman

      Dear Mr. Fulbruge:

      In connection with the appeal cited above, the following documents are transmitted:
                  Certified copy of the notice of appeal and docket entries
                  Certified copy of the notice of cross-appeal and docket entries
                  Record on appeal consisting of 1 volume(s) of the record;

                               Volume(s) of the transcript                   Volume(s) of depositions              Audio Visual Tapes

                                 Container(s) of exhibits                     Sealed documents          1   Folder(s) of State Court Papers
              ORIGINAL DOCUMENT(S) ENCLOSED--RETURN TO DISTRICT COURT
                  Supplemental record, including updated docket entries
                  Other: {Please Specify}
      In regard to the notice of appeal, the following additional information is furnished:
                  The Court of Appeals docket fee { }            been paid
                  The case is proceeding in forma pauperis
                  A motion to proceed in forma pauperis on appeal is currently pending in district court.
                  This case proceeded pursuant to 28 U.S.C. §1915 of the Prison Litigation Reform Act.
                  The presiding Judge entering the final judgment is: {Judge}
                  The court reporter assigned to this case is:


              {Court reporter(s)}


                  This case was decided without a hearing, therefore there will be no transcript
                  UPS Tracking #: {Number}



                                                                             Sincerely,
                                                                             KAREN MITCHELL
                                                                             Clerk of Court

                                                                             By:     s / J. Ross

                                                                                            Deputy Clerk
cc:
